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           15            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  REPLY IN FURTHER SUPPORT OF
           18      a Delaware corporation,                       APPLE’S MOTION TO STRIKE
                                                                 PLAINTIFFS’ PURPORTED RULE
           19                         Plaintiffs,                26(A)(2)(C) DISCLOSURES
           20            v.
                                                                 Date: November 21, 2022
           21      APPLE INC.,                                   Time: 1:30pm
                   a California corporation,
           22                                                    Expert Discovery Cut-Off: Dec. 12, 2022
                                      Defendant.
           23                                                    Pre-Trial Conference: Mar. 13, 2023
                                                                 Trial: Mar. 27, 2023
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           25                             REDACTED VERSION OF
                                 DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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             1                                      I.     INTRODUCTION
             2              Plaintiffs’ opposition is most notable for what it does not say. Plaintiffs do not
             3     deny that each of their “expert” disclosures provide opinions rooted in hypotheticals
             4     (e.g.,                                                                             ) and/or
             5     material supplied for the purpose of litigation (e.g.,
             6              ). Their disclosures accordingly violate FRCP 26(a)(2). Nor do Plaintiffs dispute
             7     that each disclosure includes new information that was not disclosed during fact
             8     discovery (e.g., Plaintiffs’ new damages theories based on the
             9               and new details regarding Plaintiffs’ purported trade secrets). Their disclosures
           10      accordingly also violate FRCP 26(e).
           11               Instead, Plaintiffs put their eggs in two baskets—one legal (their argument about
           12      the legal test under FRCP 26(a)(2)(B)) and the other factual (their argument that Apple
           13      has not suffered prejudice from the FRCP 26(e) violations). As to the former, Plaintiffs
           14      cite a small handful of district court cases to argue that a party’s employees are never
           15      required to file an FRCP 26(a)(2)(B) report unless they regularly testify on behalf of
           16      their employer. This assertion cannot be squared with the Ninth Circuit’s ruling in
           17      Goodman v. Staples, 644 F.3d 817, 825-826 (9th Cir. 2011), or myriad other decisions
           18      from this Circuit. The Goodman principle—i.e., that any expert witness who develops
           19      opinions based on information beyond his or her own percipient knowledge must file a
           20      FRCP 26(a)(2)(B) report—makes good sense when applied to this case, since an
           21      employee who is specially employed to develop opinions based on hypotheticals or
           22      materials provided for the purpose of litigation is acting as a retained expert would.
           23               As to the latter, Plaintiffs argue that Apple has not suffered prejudice from their
           24      repeated violations of FRCP 26 because Plaintiffs left a breadcrumb trail of hints about
           25      their new theories scattered throughout their prior filings. But Plaintiffs do not dispute
           26      that they did not present their new theories and arguments in their responses to Apple’s
           27      interrogatories regarding their damages and trade secret theories. Plaintiffs also argue
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             1     that their violations can be remedied by granting Apple a deposition for each purported
             2     expert. But Apple cannot take an effective deposition without the full report required
             3     under FRCP 26(a)(2)(B)—and given that Plaintiffs have agreed that Apple is entitled to
             4     depositions regardless of the outcome of this motion, ordering depositions would hardly
             5     constitute a sanction. In any event, Plaintiffs’ gamesmanship has prevented Apple’s
             6     experts from fully responding to the four “expert” opinions and Apple has been denied
             7     the opportunity to seek fulsome written discovery on Plaintiffs’ new theories during fact
             8     discovery—a time when Apple was not also juggling expert discovery, summary
             9     judgment briefing, and preparations for trial, which is now just over four months away.
           10                                         II.    ARGUMENT
           11            A.     The Priddell, Muhsin, Kiani, and Diab Disclosures Violate The Federal
           12                   Rules Of Civil Procedure
           13                   1.     The Disclosures Violate FRCP 26(a)(2)
           14                          a. Witnesses Who Intend To Testify On Matters Beyond Their
           15                             Percipient Knowledge Fall Under FRCP 26(a)(2)(B)
           16            As Apple has explained, experts must submit a complete report under FRCP
           17      26(a)(2)(B) whenever they intend to rely on information beyond their own percipient
           18      knowledge—i.e., they have prepared to testify specifically for the case at hand by
           19      consulting materials provided by counsel and/or by developing opinions based on a
           20      hypothetical set of facts. See Mot. 7-8 (collecting case law). This principle follows
           21      naturally from the plain text of FRCP 26(a)(2)(B), which applies when inter alia an
           22      employee is “specially employed” to provide expert testimony in the case.
           23            Plaintiffs primarily argue in favor of a rule that an employee need not provide a
           24      report unless they regularly testify as an expert, relying on five district court cases.
           25      Opp. 2-3. These decisions cannot overrule the Ninth Circuit’s precedential decision in
           26      Goodman, which holds that an expert (e.g., a doctor) must comply with FRCP
           27      26(a)(2)(B) when he or she forms an opinion based on information outside of his or her
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             1     percipient knowledge. 644 F.3d at 825-826. In any event, two of the cases that
             2     Plaintiffs muster for this point acknowledge that they are stating a minority rule. See
             3     Allstate Insurance Co. v. Nassiri, 2011 WL 2975461, at *6-7 (D. Nev. July 21, 2011);
             4     see also In re Zofran (Ondansetron) Prods. Liab. Litig., 2019 WL 4980310, at *11 (D.
             5     Mass. Oct. 8, 2019) (“majority” of courts mandate that employee-expert who “does not
             6     ordinarily testify but reviews material specifically for the case must submit an expert
             7     report in compliance with Fed. R. Civ. P. 26(a)(2)(B)”). A third case found that the
             8     witness at issue was providing opinions based solely on her percipient knowledge, and
             9     thus would not be required to provide an FRCP 26(a)(2)(B) report regardless of
           10      whether the Goodman rule applied. Doe 1 v. Manhattan Beach Unified Sch. Dist.,
           11      2020 WL 7931596, at *4 (C.D. Cal. Dec. 22, 2020).1
           12               Plaintiffs’ focus on these outlier cases ignores that the vast majority of district
           13      courts in the Ninth Circuit decision have applied the Goodman rule in the same manner
           14      as Apple. See, e.g., Mot. 2-3 (collecting cases). Even beyond the cases cited in
           15      Apple’s prior brief, for example, Copart, Inc. v. Sparta Consulting, Inc., held that
           16      employee expert witnesses “may not render opinions based on information obtained
           17      outside of their personal knowledge … without an expert report filed under [FRCP]
           18      26(a)(2)(B).” 2018 WL 1871414, at *20 (E.D. Cal. Apr. 19, 2018). Similarly, Jackson
           19      v. Officer Forman held that any expert who receives and analyzes evidence in
           20      preparation for litigation is “required to submit an expert report under Rule
           21      26(a)(2)(B).” 2020 WL 6526373, at *3 (C.D. Cal. Oct. 15, 2020). Many other
           22      California courts have reached the same basic conclusion. See, e.g., Carr v. Cnty. of
           23      San Diego, 2021 WL 4244596, at *4 (S.D. Cal. Sept. 17, 2021); United States v.
           24      Crescendo Bioscience, 2021 WL 4129779, at *3 (N.D. Cal. Sept. 10, 2021);
           25
                   1
           26        The remaining two cases are no more helpful. In Anderson, 2012 WL 3728160 (E.D.
                   Cal. Aug. 27, 2012), the purported expert failed to supply a written report of any kind.
           27      Id. at *4. And in Hellmann-Blumberg, 2013 WL 4407267 (E.D. Cal. Aug. 15, 2013),
                   the court distinguished Goodman because it involved a physician witness, id. at *2 &
           28      n.2—a line that many other courts in this district have rejected, infra p. 5.

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             1     Kanellakopoulos v. Unimerica Life Ins. Co., 2018 WL 984826, at *4-5 (N.D. Cal. Feb.
             2     20, 2018); Burreson v. BASF Corp., 2014 WL 4195588, at *4 (E.D. Cal. Aug. 22,
             3     2014); In re Application of Repub. of Ecuador, 280 F.R.D. 506, 511 (N.D. Cal. 2012).
             4           Contrary to Plaintiffs’ arguments (at 1-2), the Goodman rule comports with
             5     FRCP 26(a)(2). FRCP 26(a)(2)(B) provides that a witness who is “retained or
             6     specially employed to provide expert testimony in the case or one whose duties as the
             7     party’s employee regularly involve giving expert testimony” must submit a written
             8     report that complies with the requirements of FRCP 26(a)(2)(B). (Emphasis added).
             9     While a “percipient witness who happens to be an expert” is not “specially employed”
           10      to testify, Downey v. Bob’s Disc. Furniture Holdings, Inc., 633 F.3d 1, 6 (1st Cir.
           11      2011), a witness who testifies beyond their percipient experience is “not testifying
           12      from personal knowledge” but rather is “receiving and analyzing evidence in
           13      preparation for litigation, which is precisely what a retained expert does,” Jackson,
           14      2020 WL 6526373, at *3. Therefore, when an employee “plans to offer expert opinion
           15      and testimony on matters that cause[s] him to review extensive evidence beyond his
           16      personal knowledge of this case,” that employee is “specially employed” under the
           17      meaning of FRCP 26(a)(2)(B). Miesen v. Hawley Troxell Ennis & Hawley LLP, 2021
           18      WL 1124758, at *5 (D. Idaho Mar. 24, 2021). Put slightly differently, an employee
           19      who “review[s] prior business records maintained over time in the course of regular
           20      business operations” and “use[s] these prior business records to compile data” is acting
           21      “as any retained expert … would do[.]” Valvoline Instant Oil Change Franchising v.
           22      RFG Oil, Inc., 2015 WL 13935285, at *8 (S.D. Cal. Jan. 16, 2015). That is exactly
           23      what Plaintiffs’ employees have done here.
           24            Plaintiffs fare no better with their related argument that the 2010 amendments to
           25      FRCP 26(a)(2) changed how (a)(2)(B) should be interpreted. Opp. 2. To be clear,
           26      those amendments did not modify the “specially employed” language in FRCP
           27      26(a)(2)(B)—or, indeed, any other relevant language in FRCP 26(a)(2)(B). They
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             1     merely added FRCP 26(a)(2)(C) in order to clarify the obligations of an expert witness
             2     “who is exempted from the [FRCP 26(a)(2)(B)] report requirement.” See Fed. R. Civ.
             3     P. 26(a)(2)(C) Advisory Committee Notes to the 2010 Amendment.
             4              To be sure, the (non-binding) Advisory Committee Notes acknowledge that
             5     “[f]requent examples” of FRCP 26(a)(2)(C) witnesses “include physicians … and
             6     employees of a party who do not regularly provide expert testimony.” Opp. 2
             7     (quotations omitted and emphasis added)). But that such experts often fall under
             8     FRCP 26(a)(2)(C) does not mean that they always do. Indeed, Goodman clarified the
             9     following year that “a treating physician is only exempt from Rule 26(a)(2)(B)’s
           10      written report requirement to the extent that his opinions were formed during the
           11      course of treatment.” 644 F.3d at 826; see also, e.g., Crespo v. Target Corp., 2017 WL
           12      3575281, at *5 (C.D. Cal. June 30, 2017) (applying Goodman to require FRCP
           13      26(a)(2)(B) report from physician who planned to testify based on documentary
           14      evidence beyond own observations).
           15               Plaintiffs attempt to dismiss Goodman as “‘outdated’” because it was
           16      purportedly decided “before the 2010 Amendments.” Opp. 3. Plaintiffs are wrong on
           17      this important point—Goodman was decided in 2011, the year after the Amendments.
           18      Plaintiffs also argue that Goodman is limited to the context of physician witnesses. Id.
           19      But courts across this Circuit have applied the Goodman principle to a wide range of
           20      expert witnesses, including law enforcement, a company’s CEO, employees, and an
           21      attorney. See Jackson, 2020 WL 6526373, at *3 (police officer); Copart, 2018 WL
           22      1871414, at *18 (employees); Kanellakopoulos, 2018 WL 984826, at *4-5 (attorney);
           23      Valvoline, 2015 WL 13935285, at *9 (company CEO); United States v. Sierra Pac.
           24      Indus., 2011 WL 2119078, at *4 (E.D. Cal. May 26, 2011) (employee); see also Carr,
           25      2021 WL 4244596, at *4 (lieutenant).2
           26
                   2
           27       The outlier cases that Plaintiffs rely upon suggest only that courts “may” distinguish
                   between physicians and other witnesses. Hellmann-Blumberg, 2013 WL 4407267, at
           28      *2 n.2 (emphasis added); see Manhattan Beach, 2020 WL 7931596, at *3 (similar).

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             1                           b. All Four Disclosures Contain Opinions Beyond The Witness’s
             2                              Percipient Knowledge
             3              Plaintiffs do not seriously dispute that each of the four “experts” at issue have
             4     provided opinions that are either based on hypotheticals or are rooted in materials that
             5     were provided by counsel for the purpose of litigation. Accordingly, under the binding
             6     Goodman rule, all four were required to provide reports that comply with FRCP
             7     26(a)(2)(B).3
             8              Priddell’s Disclosure
             9              First, Plaintiffs do not contest that Mr. Priddell’s disclosure
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           22               Second, Plaintiffs do not dispute that Mr. Priddell
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           24                                                                  accordingly required an FRCP
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           26      3
                    Plaintiffs’ argument (at 4-5, 7) that the Priddell and Muhsin disclosures “substantially
           27      complied” with Rule 26(a)(2)(B) is a tacit admission that they do not actually comply.
                   Accordingly, those assertions are addressed below in the context of Plaintiffs’
           28      “substantial justification” arguments. See infra pp. 14-16.

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             1     26(a)(2)(B) report. See Jackson, 2020 WL 6526373, at *3. Plaintiffs’ only response is
             2     to cite two cases that failed to follow the Goodman rule. Opp. 5. As explained above,
             3     that is not the law in this Circuit. See supra pp. 2-5.4
             4              Muhsin’s Disclosure
             5              First, Plaintiffs do not dispute that Mr. Muhsin’s assertions
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           10                                                                   Again, opinions that rest on
           11      hypothetical facts require an FRCP 26(a)(2)(B) report. Chaudhry, 2020 WL 869115,
           12      at *21.
           13               Second, Plaintiffs do not contest that Mr. Muhsin’s opinion regarding
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           15                                                     was not prepared in the ordinary course of
           16      business. Compare Mot. 9 with Opp. 6-7. As noted, opinions developed for the
           17      purpose of litigation—and based on material supplied by counsel—require an FRCP
           18      26(a)(2)(B) report. Jackson, 2020 WL 6526373, at *3.
           19               Kiani’s Disclosure
           20               Plaintiffs do not dispute that Mr. Kiani’s opinion regarding the likelihood
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           22                                                     Compare Mot. 9 with Opp. 8. Plaintiffs
           23      instead argue that he                           ” to discuss the topic. Opp. 8.
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           25                                                   Put differently, being
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           27        Plaintiffs’ admission that they were originally planning to call a different witness to
                   testify to the same basic facts as Mr. Priddell, Opp. 15, further confirms that Plaintiffs
           28      are not relying on Mr. Priddell for his percipient knowledge.

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             1     does not equate to percipient experience. Mr. Kiani accordingly may not opine on this
             2     topic without submitting an FRCP 26(a)(2)(B) report.
             3           While Plaintiffs do argue that Mr. Kiani had percipient knowledge of the
             4                                                                 , they fail to cite convincing
             5     evidence to support their assertion. Opp. 8. As Apple explained, Mr. Kiani’s deposition
             6     testimony illustrated his unfamiliarity with                                              .
             7     Mot. 9. The best Plaintiffs can muster in response (at 8) is testimony where Mr. Kiani
             8     stated that some of Plaintiffs’
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           10
           11                       Ex. 10 at 136:3-25. This summary response hardly demonstrates that
           12      Mr. Kiani was aware of                                                                  and
           13      says nothing about Mr. Kiani’s knowledge of
           14                                            Plaintiffs also point to the fact that Mr. Kiani was
           15      able to testify regarding
           16                             , Opp. 8, but this only proves Apple’s point—i.e., Mr. Kiani
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           18
           19            Diab’s Disclosure
           20            Plaintiffs do not dispute that Mr. Diab’s opinion regarding
           21                                                                                        is
           22      beyond Mr. Diab’s percipient knowledge. Compare Mot. 10 with Opp. 9-12. This
           23      opinion is therefore improper without an FRCP 26(a)(2)(B) report.
           24            Plaintiffs also do not contest that that the                         Mr. Diab
           25      relied on for many of his opinions were                                      Mot. 10.
           26      Accordingly, those opinions too were necessarily beyond his percipient knowledge
           27      prior to becoming involved in this litigation.
           28

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             1           Plaintiffs instead devote several pages to relitigating whether
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             6     While this Court need not resolve that issue in order to find that Mr. Diab’s disclosure
             7     goes beyond his percipient knowledge, even a cursory review of the underlying
             8     materials shows that
             9                               To take just one example,
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           20                   2.     Plaintiffs Do Not Dispute That The Disclosures Contain New
           21                          Information In Violation Of FRCP 26(e)
           22            Plaintiffs do not dispute that all four of the expert disclosures rely on
           23      information that was disclosed for the first time after the close of fact discovery.
           24      Compare Mot. 11-15 with Opp. 12-13. Plaintiffs argue only that their failure to timely
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                   5 Plaintiffs are wrong that Apple did not
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             1     produce the materials they rely upon should be excused because it was “substantially
             2     justified and harmless.” Opp. 12. As explained in the following section, however,
             3     Plaintiffs cannot make either showing.6
             4              B.     Plaintiffs Have Failed To Meet Their Burden To Show That Their
             5                     FRCP Violations Were Substantially Justified Or Harmless
             6                     1.    Plaintiffs’ Misleading Statements Regarding The Legal
             7                           Standard And Apple’s Conduct Should Be Disregarded
             8                           a. Legal Standard
             9              Plaintiffs devote several pages to laying out the legal standard for assessing
           10      whether a violation of the expert disclosure requirement in FRCP 26(a) or the duty to
           11      supplement in FRCP 26(e) is substantially justified or harmless. Opp. 12-14, 24-25.
           12      Plaintiffs’ approach is flawed for two basic reasons.
           13               First, Plaintiffs’ statement of the law includes several omissions. Most notably,
           14      Plaintiffs fail to acknowledge that they—and not Apple—have the burden to show that
           15      their FRCP violations were substantially justified or harmless. See generally Opp. 12-
           16      14. The Ninth Circuit has made clear that in determining whether a sanction “should
           17      be imposed” under FRCP 37(c)(1), “the burden is on the party facing the sanction” and
           18      the moving party is “not required to articulate how they would be prejudiced by
           19      Defendants’ failure” to comply with FRCP 26. Torres v. City of L.A., 548 F.3d 1197,
           20      1213 (9th Cir. 2008). Plaintiffs’ elision of this key point is particularly notable
           21      because (1) Apple raised the burden issue in its opening brief, Mot. 2, 15, and (2) this
           22      Court has previously rejected Plaintiffs’ attempts to engage in “improper burden
           23      shifting” when discussing FRCP 37(c)(1), see Dkt. 899 at 4.
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           26       Plaintiffs also assert that it is “false” and “wrong” to describe FRCP 37(c)(1) as
                   imposing an “‘automatic’ sanction” when a party fails to comply with FRCP 26(a)
           27      and/or 26(e). Opp. 12-13 (citing Mot. 15). That language comes directly from the
                   Ninth Circuit. See Merchant v. Corizon Health, Inc., 993 F.3d 733, 740 (9th Cir.
           28      2021); see also Dkt. 899 at 2 (this Court describing Rule 37(c)(1) as “self-executing”).

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             1           Relatedly, Plaintiffs chide Apple for failing to identify and apply a purported
             2     “four-factor test” for evaluating harmlessness. Opp. 14. Setting aside that this
             3     wrongly places the burden on Apple, Plaintiffs do not identify any case that requires a
             4     court to employ those factors. Their lone authority involved a situation where the
             5     district court “completely failed to consider whether any defect” in the FRCP 26(a)
             6     disclosures was harmless or substantially justified. See Liberty Ins. Corp. v. Broduer,
             7     41 F.4th 1185, 1192 (9th Cir. 2022). While the Liberty court acknowledged that
             8     “district courts have identified” factors to “guide the determination of whether
             9     substantial justification and harmlessness exist,” the panel did not state that the four
           10      factors Plaintiffs rely upon were exclusive or mandatory. Id. (emphasis added); see
           11      also id. (considering, in assessing harmless, only whether it was “[]surprising” that a
           12      witness would testify on certain subjects). And once again, Plaintiffs’ assertions about
           13      the legal standard are notable because this Court has already at least implicitly rejected
           14      them. Compare Dkt. 847 at 8-9 (Plaintiffs relying on the same four-factor test in
           15      arguing harmlessness) with Dkt. 899 at 4-5 (this Court’s subsequent order assessing
           16      harmlessness without relying on that test).
           17            Second, Plaintiffs rely on high-level statements about the legal standard without
           18      even attempting to tie those decisions to the specific facts of this case. Plaintiffs do not
           19      identify a single remotely comparable case to this one, where a party put forth four
           20      separate FRCP 26(a)(2)(C) disclosures that all (1) included opinions not based on the
           21      witnesses’ percipient knowledge and (2) concededly relied on information disclosed
           22      after the discovery deadline. Instead, Plaintiffs’ cases involve comparatively de
           23      minimis rule violations (or violations directly caused by the other side’s dilatory
           24      conduct), including:
           25          Failure to timely produce a single document. Homeland Housewares, LLC v.
           26            Sharkninja Operating LLC, 2016 WL 1698254 at *5 (C.D. Cal. Apr. 27, 2016);
           27            see also Generations v. Whitestone Pinnacle, 2021 WL 9597885, at *4 (D. Ariz.
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             1           Feb. 22, 2021) (failure to request leave to replace sales projection numbers with
             2           documents listing actual sales).
             3         Failure to timely disclose an expert witness where the moving party actually
             4           knew the witness “would likely testify as [an] expert even before the complaint
             5           was filed” and “certainly knew after [the non-moving party] served its initial
             6           disclosures[.]” Amos v. Makita U.S.A., Inc., 2011 WL 43092, at *4 (D. Nev.
             7           Jan. 6, 2011); see also Liberty Insurance, 41 F.4th at 1190-1192 (finding that lay
             8           witness was timely disclosed, but briefly addressing harmlessness to identify a
             9           legal error in district court’s analysis).
           10          Failure to serve an FRCP 26(a)(2)(C) disclosure for a single rebuttal witness,
           11            where the parties discussed the substance of the witnesses’ testimony (which
           12            was on a “‘very narrow’” topic) but plaintiff failed to provide that information in
           13            writing. Anderson, 2012 WL 3728160, at *2-4.
           14          The late service of an otherwise permissible expert report/declaration. Becerra
           15            v. J.C. Penney Corp., 2017 WL 1479410, at *3 (C.D. Cal. Apr. 24, 2017);
           16            Beecham v. Roseville City Sch. Dist., 2017 WL 4038360, at *3 (E.D. Cal. Sept.
           17            13, 2017); Lanard Toys, Ltd. v. Novelty, Inc., 375 F. App’x 705, 713 (9th Cir.
           18            2010); A.C.T. 898 Prods., Inc. v. W.S. Indus., Inc., 2017 WL 2992741, at *2
           19            (C.D. Cal. Apr. 11, 2017); see also United States ex rel. O’Connell v. Chapman
           20            Univ., 245 F.R.D. 652, 655-656 (C.D. Cal. 2007) (late service of report that
           21            failed to fully identify all documents reviewed).
           22          The late addition of a witness in response to a new damages theory raised by the
           23            other side. Guzik Tech. Enters., Inc. v. W. Digital Corp., 2013 WL 6070414, at
           24            *7 (N.D. Cal. Nov. 18, 2013); Stonefire Grill, Inc. v. FGF Brands, Inc., 2013
           25            WL 12126773, at *5-6 (C.D. Cal. June 27, 2013).
           26                          b. Statements About Apple’s Conduct
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             1           Plaintiffs also try to muddy the waters by focusing on
             2                          Opp. 25. But Plaintiffs misstate the facts when they assert that
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           10            Plaintiffs’ complaint about
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           18            In any event, Apple’s productions are irrelevant to the question at hand—
           19      whether Plaintiffs should be sanctioned for providing improper expert disclosures
           20      under FRCP 26(a)(2)(B) and relying on late produced documents and information. As
           21      this Court has explained in addressing a similar argument, to the extent that Plaintiffs
           22      have a “reciprocal” request for relief, they must file their own motion “in the first
           23      instance.” Dkt. 748 at 4.
           24                   2.     Plaintiffs Have Not Met Their Burden To Show Substantial
           25                          Justification Or Harmlessness
           26                          a. The Failure To Provide Expert Reports Per FRCP 26(a)(2)(B)
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             1           Not Substantially Justified. Plaintiffs contend that their failure to comply with
             2     FRCP 26(a)(2) was “substantially justified” because they had a “good faith basis”
             3     under existing case law that their employees need not provide an FRCP 26(a)(2)(B)
             4     report. Opp. 14. But as discussed above, the rule in this Circuit is that an employee
             5     who plans to testify on matters beyond his or her percipient knowledge (i.e., who was
             6     “specially employed” to testify) does not fall under FRCP 26(a)(2)(C). See supra pp.
             7     2-5. Moreover, there is no evidence that Plaintiffs considered the case law that they
             8     now cite when serving the disclosures at issue here. Their correspondence with Apple
             9     identified just a single, out-of-circuit case, which recognized that a FRCP 26(a)(2)(B)
           10      report would be required if an employee is “‘specially employed to develop additional
           11      opinions for purposes of trial.’” Mot. 7-8 (quoting Downey, 633 F.3d at 8 n.5).
           12            Plaintiffs also argue that Mr. Priddell’s and Mr. Muhsin’s disclosures are
           13      justified because they provide the “substantive information” required by FRCP
           14      26(a)(2)(B). Opp. 14. Plaintiffs are wrong. As their own case law establishes, FRCP
           15      26(a)(2)(C) requires only “summary disclosures” that are “designed to be
           16      ‘considerably less extensive’ than those required under Rule 26(a)(2)(B).” Carrillo v.
           17      B&J Andrews Enters., LLC, 2013 WL 394207, at *4 (D. Nev. Jan. 29, 2013), cited in
           18      Ex. 1 at 3. Here, both Mr. Priddell and Mr. Muhsin took advantage of FRCP
           19      26(a)(2)(C)’s low bar to provide something less than the “complete statement of all
           20      opinions … and the basis and reasons for them” required by FRCP 26(a)(2)(B)(i).
           21            For example, Mr. Priddell’s nine-page disclosure purports to
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           23                                                      As Apple has explained (and Plaintiffs
           24      do not dispute),
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             1              Mr. Priddell’s disclosure, however, provides only high-level conclusions on this
             2     important issue, which provide scant basis for Apple and its witnesses to evaluate his
             3     findings.
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           20               Mr. Muhsin’s eight-page disclosure suffers from similar problems. In particular,
           21      Mr. Muhsin makes a number of bald assertions regarding what
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           26                                                was produced as a native Excel file.
                   Converting the file to PDF for submission to the Court made the document difficult to
           27      read, so Apple has submitted an excerpted version that includes only the columns that
                   are directly relevant to this brief. To the extent the Court wishes to view the full file in
           28      native form, Apple stands ready to transmit it.

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           14      Ex. 3 at ¶¶ 11-14. Again, as Apple has explained (and Plaintiffs do not dispute), Mr.
           15      Muhsin’s assertions are
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           18             Mr. Muhsin, however, does not provide any basis or reasoning for these
           19      allegations. His disclosure does not even cite documents that he considered in
           20      reaching these conclusions, meaning that it is impossible for Apple’s experts (or
           21      attorneys, for that matter) to attempt to retrace Mr. Muhsin’s steps and understand the
           22      basis for his analysis.
           23             Not Harmless. Beyond the two purported substantial justification theories
           24      addressed above, Plaintiffs do not appear to make a specific separate argument for why
           25      their failure to provide FRCP 26(a)(2)(B) reports for all four witnesses was harmless.
           26      While Plaintiffs do advance three generic arguments regarding harmlessness that apply
           27      to both the FRCP 26(a)(2) and the FRCP 26(e) issues, not one of them is persuasive.
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             1           First, Plaintiffs argue that Apple should be punished for “fail[ing] to identify
             2     any prejudice” suffered from Plaintiffs’ FRCP violations. Opp. 23. Plaintiffs are
             3     wrong that Apple has not identified prejudice, see supra pp. 14-16; infra pp. 17-25,
             4     but, in any event, Apple “was not required to articulate how [it] would be prejudiced,”
             5     Torres, 548 F.3d at 1213.
             6           Plaintiffs relatedly contend that any prejudice could be mitigated through
             7     additional discovery, such as depositions. Opp. 24. But a deposition is not a cure-all,
             8     particularly where (1) the parties are well into the expert discovery phase, (2) trial
             9     begins in just over four months, and (3) Plaintiffs have failed to provide basic facts
           10      supporting the four “expert” opinions at issue here. See Gentec Enters. Inc. v.
           11      Transistor Devices Inc., 2012 WL 13005868, at *4 (C.D. Cal. Mar. 29, 2012)
           12      (rejecting the argument that there is “no harm, no foul” so long as “depositions can be
           13      taken” where non-moving party failed to identify “the specific facts on which [an
           14      expert] opinion [wa]s based”). Cursory, incomplete reports make it difficult to prepare
           15      for Apple to prepare for a deposition—for example, Apple cannot easily evaluate
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           18                      The very point of such FRCP 26(a)(2)(B) reports, however, is to avoid
           19      a situation where “opposing counsel is … forced to depose an expert in order to avoid
           20      an ambush at trial.” Alorica, Inc. v. Boston Consulting Grp., Inc., 2022 WL 1844113,
           21      at *3 (C.D. Cal. Feb. 22, 2022)
           22            More broadly, the discovery deadlines set by this Court exist for a reason: “[A]
           23      function of the discovery cut-off is to establish a window between the close of
           24      discovery and trial during which counsel can focus on all aspects of trial preparation
           25      without the pressure of conducting discovery during that preparation period.” Gentec,
           26      2012 WL 13005868 at *5. By forcing Apple to conduct additional depositions well
           27      after the close of discovery (and potentially submit supplemental expert reports
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             1     following those depositions), allowing Plaintiffs to proceed without sanction would
             2     deny Apple that crucial preparation time. See Brown v. Wal-Mart Store, Inc., 2018
             3     WL 2011935, at *4 (N.D. Cal. Apr. 27, 2018) (finding prejudice where non-moving
             4     parties’ late disclosure of information would require “significant further changes to the
             5     case schedule”).8
             6              Second, Plaintiffs argue that there is “ample time” to conduct additional
             7     discovery without changing the trial date. Opp. 23-24. But the parties have already
             8     exchanged multiple rounds of expert reports and the deadlines for the close of expert
             9     discovery and for summary judgment are rapidly approaching. See Dkt. 627 at 2-3. It
           10      is not feasible for Plaintiffs to provide additional fact discovery, and for Apple’s
           11      experts to supplement their reports as needed on account of that new discovery without
           12      causing delay to the rest of the schedule. Moreover, even if the ultimate trial date does
           13      not change, “[d]isruption” to earlier deadlines in the schedule “is not harmless,” as
           14      “[c]ourts set such schedules to permit the court and the parties to deal with cases in a
           15      thorough and orderly manner.” Wong v. Regents of Univ. Cal., 410 F.3d 1052, 1062
           16      (9th Cir. 2005).
           17               Third, Plaintiffs assert that “Apple does not allege Masimo engaged in bad faith
           18      or willfulness.” Opp. 24. To the contrary, Apple identified several instances of
           19      Plaintiffs’ gamesmanship, including
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           21                                            Mot. 15-16. More broadly, Plaintiffs have not
           22      provided a clear explanation for why they waited until the expert disclosures to
           23      identify
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           26      8
                     As discussed below, Plaintiffs’ FRCP 26(e) violation is even more difficult to cure,
           27      since there is a good deal of fact discovery that Apple would have conducted if the
                   underlying theories referenced in the expert disclosures had been raised at the
           28      appropriate time. Infra p. 19.

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             3           Plaintiffs also argue that they were necessarily acting in good faith because the
             4     expert disclosures “were arguably not required because they contain facts the witness
             5     could provide at trial as a fact witness.” Opp. 24. But lay witnesses are limited to
             6     testimony that is “rationally based on the witness’s perception.” Fed. R. Evid. 701(a).
             7     As explained, each of the four disclosures at issue here go beyond the “experts’”
             8     percipient knowledge and thus could not have been elicited at trial as fact witness
             9     testimony. See supra pp. 6-9.
           10                          b. The Failure To Timely Disclose Information Per Rule 26(e)
           11            As a general matter, Plaintiffs’ strategic decision to raise
           12      and provide new information about Plaintiffs’ liability arguments after the close of fact
           13      discovery was inherently prejudicial. If Apple had been on notice that Plaintiffs would
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           15
           16                     Apple would “undoubtedly have pressed for additional documents and
           17      asked additional deposition questions of fact witnesses” to prepare itself and its experts
           18      for rebuttal. See Jones v. Travelers Cas. Ins. Co. of Am., 304 F.R.D. 677, 681-682
           19      (N.D. Cal. 2015).
           20            As to Plaintiffs’ specific prejudice arguments, for this Court’s convenience,
           21      Apple follows Plaintiffs’ approach of discussing substantial justification and
           22      harmlessness on a disclosure-by-disclosure basis.
           23            Priddell’s Disclosure
           24            As explained, prior September 23, 2022, Plaintiffs failed to indicate that Mr.
           25      Priddell had
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             3           Plaintiffs’ lead argument is that Apple cannot have been prejudiced by the new
             4     information in Mr. Priddell’s report because Plaintiffs produced
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             6                       To call this a non sequitur would be charitable. Plaintiffs did not
             7     argue that
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           12                                                                                      Plaintiffs
           13      identify nothing in the ITC record—and there is nothing—that would have informed
           14      Apple about the                    they intend to pursue in this case.
           15            Plaintiffs relatedly argue that Apple cannot be prejudiced by
           16
           17
           18                                                              Opp. 16. This is another non
           19      sequitur.
           20
           21
           22                            See Mot. 11-12. Plaintiffs’ only counterargument is to point to a
           23      passage from their response that is very similar to the one addressed in Apple’s
           24      opening brief—it states merely that
           25
           26                                     Compare Opp. 16 with Mot. 13. This generally-worded
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             1     statement says nothing about
             2     or how Plaintiffs planned to make such a showing.
             3            Plaintiffs also contend that the fact that they informed Apple
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           14             Finally, Plaintiffs argue that Apple was on notice that Mr. Priddell would rely on
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           20      Had Plaintiffs timely disclosed this analysis, Apple would have been able to prepare its
           21      experts to discuss any discrepancies.9
           22             While Plaintiffs suggest that Apple still can
           23                                                                                        , that
           24      would take significant time that Apple does not have under the current schedule—
           25
           26      9 Plaintiffs’ assertion (at 17) that t

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             1     particularly given that Apple has spent the last few weeks responding to all the rest of
             2     Plaintiffs’ experts’ arguments that were timely disclosed. In any event, even when
             3     “expert discovery has not yet concluded, the experts [are] in effect locked-in to the
             4     factual record as of the time fact discovery closed.” Jones, 304 F.R.D. at 681-682.10
             5           Muhsin’s Disclosure
             6           As explained, Plaintiffs failed to disclose either of Mr. Muhsin’s
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           12            Plaintiffs repeat their assertion that they disclosed information about the
           13                                                                                  Opp. 17-18;
           14      see also supra p. 20. But again,
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           20                                                     Plaintiffs do not point to any deposition
           21      testimony where Mr. Muhsin relayed the                           at issue here.
           22            Plaintiffs also repeat their argument that Apple was on notice of their
           23
           24
           25
                   10
           26        LiiON, LLC v. Vertiv Grp. Corp., 2020 WL 6894668 (N. D. Ill. 2020), is not to the
                   contrary. There, the non-moving party genuinely believed certain tax documents were
           27      not relevant to its case and produced them after the party’s expert concluded they were.
                   Id. at *5.
           28

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             3               Plaintiffs’ only direct response is to note that they supplemented their
             4     damages interrogatory response multiple times after being instructed by the Special
             5     Master to do so. Opp. 19-20. That is true but irrelevant, as Plaintiffs did not
             6     supplement their response in a way that provided actual notice of the theories in Mr.
             7     Muhsin’s disclosure.
             8           Plaintiffs relatedly argue that Apple was on notice because their
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           13                                                             Moreover, as Plaintiffs themselves
           14      have explained, merely providing Bates-stamped citations to produced documents in
           15      response to an interrogatory is inappropriate where the party that served the
           16      interrogatory
           17                              the other side. Ex. 21 at 2.
           18            Finally, Plaintiffs contend that Apple was on notice about the two
           19              in Mr. Muhsin’s disclosure because both Mr. Muhsin and Mr. Kiani testified
           20      “extensive[ly]” at their depositions                     . Opp. 18, 19. To be clear,
           21      Plaintiffs cite a small handful of locations the two depositions (out of hundreds of
           22      pages of deposition transcripts) where t
           23                . Id. And Plaintiffs tellingly do not identify a single passage where either
           24      Mr. Kiani or Mr. Muhsin
           25
           26
           27                                        To the contrary, Mr. Kiani agreed that Plaintiffs
           28

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             4                                                                                     Ex. 10 at 37,
             5     39-40; see also Ex. K at 521 (Mr. Muhsin testifying that Plaintiffs only
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             7
             8              Kiani’s Disclosure
             9              As explained, Mr. Kiani’s disclosure provides new information about
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           11
           12
           13               As to the first, Plaintiffs do not dispute that their interrogatory response
           14
           15
           16
           17                                           Plaintiffs assert this information can be found
           18      scattered across other documents, but none of the three sources they cite actually
           19      supports their argument. For example, they cite
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           22
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           24
           25               As to the second point, Plaintiffs do not seriously contest that they have never
           26      before
           27
           28

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             4           As to the third point, Plaintiffs again do not seriously contest that Mr. Kiani’s
             5     statement that Plaintiffs
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           13            Diab’s Disclosure
           14            As explained, Mr. Diab’s analysis
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           17                      Mot. 14-15. As to the first point, Plaintiffs do not dispute that
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           19                                                          Opp. 21-22. Moreover, Plaintiffs
           20      do not even attempt to address
           21
           22                                              Id. at 22. And as to the second point, Plaintiffs
           23      once again do not contest that
           24                                                Id. at 22-23.
           25                                       III.   CONCLUSION
           26            Apple respectfully requests that the Court strike the purported FRCP 26(a)(2)(C)
           27      disclosures from Mr. Priddell, Mr. Muhsin, Mr. Kiani, and Mr. Diab.
           28

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             1
             2     Dated: November 7, 2022                Respectfully submitted,

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           14
                                                          By: /s/ Mark D. Selwyn
           15                                                 Mark D. Selwyn
           16
           17                                             Attorneys for Defendant Apple Inc.
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